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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Samuel Webster Hatcher Sr.                            Case No.: 18−64865−jwc
       1671 Lily Valley Drive                                Chapter: 13
       Lawrenceville, GA 30045                               Judge: Jeffery W. Cavender

       xxx−xx−3873




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee's objection(s) to confirmation came before the Court and

After hearing and for good cause shown, confirmation is denied, and

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Jeffery W. Cavender
                                                             United States Bankruptcy Judge


Dated: November 28, 2018


Form 155
